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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 UNITED STATES OF AMERICA,               :
                                         :
                -v-                      :             19cr091 (DLC)
                                         :
 PERCY ARTURO VASQUEZ-DREW,              :                 ORDER
                                         :
                           Defendant.    :
                                         :
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DENISE COTE, District Judge:

     On August 18, 2020, the defendant informed the Court that

he does not prefer an in-court sentencing and consents to a

remote proceeding. Accordingly, it is hereby

     ORDERED that the sentencing shall proceed on September 3,

2020 at 9:00 a.m. using the CourtCall platform.        Defense counsel

is reminded that she will be given an opportunity to speak with

the defendant by telephone for fifteen minutes before the

proceeding begins (i.e., at 8:45 a.m.).

     To optimize the quality of the video feed, only the Court,

the defendant, defense counsel, and counsel for the Government

will appear by video for the proceeding; all others will

participate by telephone.     Due to the limited capacity of the

CourtCall system, only one counsel per party may participate.

Co-counsel, members of the press, and the public may access the

audio feed of the proceeding by calling 855-268-7844 and using

access code 32091812# and PIN 9921299#.
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     In advance of the proceeding, Chambers will email the

parties with further information on how to access the

proceeding.   Those participating by video will be provided a

link to be pasted into their browser.       The link is non-

transferrable and can be used by only one person; further, it

should be used only at the time of the proceeding because using

it earlier could result in disruptions to other proceedings.

     To optimize use of the CourtCall technology, all those

participating by video should:

     1. Use the most recent version of Firefox, Chrome, or
        Safari as the web browser. Do not use Internet
        Explorer.

     2. Use hard-wired internet or WiFi. If using WiFi, the
        device should be positioned as close to the Wi-Fi router
        as possible to ensure a strong signal. (Weak signals
        may cause delays or dropped feeds.)

     3. Minimize the number of others using the same WiFi router
        during the proceeding.

Further, all participants must identify themselves every time

they speak, spell any proper names for the court reporter, and

take care not to interrupt or speak over one another.          Finally,

all of those accessing the proceeding — whether in listen-only

mode or otherwise — are reminded that recording or

rebroadcasting of the proceeding is prohibited by law.

     If CourtCall does not work well enough and the Court

decides to transition to its teleconference line, counsel should

call 888-363-4749 and use access code 4324948#.        (Members of the


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press and public may call the same number, but will not be

permitted to speak during the proceeding.)           In that event, and

in accordance with the Court’s Emergency Individual Rules and

Practices in Light of COVID-19, available at

https://www.nysd.uscourts.gov/sites/default/files/practice_docum

ents/DLC%20Cote%20COVID-19%20Emergency%20Practices%20-

%20May%2013%2C%202020.pdf, counsel should adhere to the

following rules and guidelines during the hearing:

     1. Each party should designate a single lawyer to speak on
        its behalf (including when noting the appearances of
        other counsel on the telephone).

     2. Counsel should use a landline whenever possible, should
        use a headset instead of a speakerphone, and must mute
        themselves whenever they are not speaking to eliminate
        background noise. In addition, counsel should not use
        voice-activated systems that do not allow the user to
        know when someone else is trying to speak at the same
        time.

     3. To facilitate an orderly teleconference and the creation
        of an accurate transcript, counsel are required to
        identify themselves every time they speak. Counsel
        should spell any proper names for the court reporter.
        Counsel should also take special care not to interrupt or
        speak over one another.

     4. If there is a beep or chime indicating that a new caller
        has joined while counsel is speaking, counsel should
        pause to allow the Court to ascertain the identity of the
        new participant and confirm that the court reporter has
        not been dropped from the call.


Dated:      New York, New York
            August 19, 2020




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